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                                       No. 23-13095

          In the United States Court of Appeals
                 for the Eleventh Circuit

                             IN RE: GEORGIA SENATE BILL 202


                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                            Master Case No. 1:21-mi-55555-JPB

PLAINTIFFS-APPELLEES’ CERTIFICATE OF INTERESTED PERSONS
         AND CORPORATE DISCLOSURE STATEMENT

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Coalition for the People’s Agenda, Inc.,     Delta Sigma Theta Sorority, Georgia ADAPT,
League of Women Voters of Georgia, Inc.,     Georgia Advocacy Office, and Southern
GALEO Latino Community Development           Christian Leadership Conference
Fund, Inc., Common Cause, and the Lower
Muskogee Creek Tribe                         Additional Counsel Information on Front Pages
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             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1-1 to 26.1-3, Plaintiffs-Appellees Georgia State Conference of the

NAACP, Georgia Coalition for the People’s Agenda, Inc., League of Women Voters

of Georgia, Inc., GALEO Latino Community Development Fund, Inc., Common

Cause, Lower Muskogee Creek Tribe, Sixth District of the African Methodist

Episcopal Church, Delta Sigma Theta Sorority, Georgia ADAPT, Georgia

Advocacy Office, and Southern Christian Leadership Conference certify that the

following persons and entities have an interest in the outcome of this appeal:

1.    Abbott, Robert, Defendant

2.    Abudu, Nancy, Attorney for Plaintiffs-Appellees

3.    ACLU Foundation of Georgia, Attorneys for Plaintiffs-Appellees

4.    ACLU Foundation of Georgia, Inc., Attorneys for Plaintiffs-Appellees

5.    Adegbile, Debo, Attorney for Plaintiffs-Appellees

6.    Aden, Leah, Attorney for Plaintiffs-Appellees

7.    Advancement Project, Attorneys for Plaintiffs-Appellees

8.    Ameri, Mana, Attorney for Plaintiffs-Appellees

9.    American Civil Liberties Union Foundation of Georgia, Attorneys for

      Plaintiffs-Appellees


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10.   American Civil Liberties Union Foundation, Inc., Attorneys for Plaintiffs-

      Appellees

11.   Andrews, Wanda, Defendant

12.   Aquino, Nora, Plaintiff-Appellee

13.   Asian Americans Advancing Justice-Asian Law Caucus, Attorneys for

      Plaintiffs-Appellees

14.   Asian Americans Advancing Justice-Atlanta, Plaintiff-Appellee

15.   Augusta Georgia Law Department, Attorneys for Defendant

16.   Ausburn, Deborah, Attorney for Defendants-Appellants

17.   Awuku, George, Defendant

18.   Banks, Marques, Attorney for Plaintiffs-Appellees

19.   Banter, James, Attorney for Defendant

20.   Barnes, Sherry, Defendant

21.   Barron, Richard, Defendant

22.   Bartolomucci, Christopher, Attorney for Defendants-Appellants

23.   Beausoleil, William, Attorney for Plaintiffs-Appellees

24.   Beck Owen & Murray, Attorneys for Defendant

25.   Begakis, Steven, Attorney for Intervenors-Appellants

26.   Belichick, Joseph, Attorney for Plaintiffs-Appellees



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27.   Bell, Jordan, Attorney for Defendant

28.   Bennette, Matletha, Attorney for Plaintiffs-Appellees

29.   Bibb County Board of Elections, Defendant

30.   Bibb County Board of Registrars, Defendant

31.   Black Voters Matter Fund, Plaintiff-Appellee

32.   Blender, Matthew, Defendant

33.   Bloodworth, Kristin, Attorney for Defendant

34.   Boone, Annika, Attorney for Defendants-Appellants

35.   Boulee, Jean-Paul (“J.P.”), District Court Judge

36.   Bowman, Brad, Attorney for Defendant

37.   Boyle, Donald, Attorney for Defendants-Appellants

38.   Broder, Karl, Attorney for Defendant

39.   Brooks, Jessica, Defendant

40.   Brooks, Sofia, Attorney for Plaintiffs-Appellees

41.   Brown, Marcia, Defendant

42.   Bruning, Stephen, Defendant

43.   Bruning, Steven, Defendant

44.   Bryan, Bennett, Attorney for Defendant

45.   Burwell, Kaye, Attorney for Defendant



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46.   Campbell-Harris, Dayton, Attorney for Plaintiffs-Appellees

47.   Carver, William, Attorney for Intervenors-Appellants

48.   Cathey, Thomas, Attorney for Defendant

49.   Chalmers, Adams, Backer & Kaufman, LLC, Attorneys for Defendant

50.   Chatham County Attorney, Attorneys for Defendant

51.   Chatham County Board of Elections, Defendant

52.   Chatham County Board of Registrars, Defendant

53.   Clarke County Board of Election and Voter Registration, Defendant

54.   Clayton County Board of Elections and Registration, Defendant

55.   Cobb County Board of Elections and Registration, Defendant

56.   Cochran, Ken, Defendant

57.   Columbia County Board of Elections, Defendant

58.   Columbia County Board of Registrars, Defendant

59.   Common Cause, Plaintiff-Appellee

60.   Consovoy McCarthy PLLC, Attorney for Intervenors-Appellants

61.   Cramer, Raisa, Attorney for Plaintiffs-Appellees

62.   Crawford, Teresa, Defendant

63.   Crawford, Teresa, Defendant

64.   Crowell & Moring, LLP, Attorneys for Plaintiffs-Appellees



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65.   Cushman, Ann, Defendant

66.   Cusick, John, Attorney for Plaintiffs-Appellees

67.   Dasgupta, Riddhi, Attorney for Defendants-Appellants

68.   Dave, Charles, Defendant

69.   Davenport, Jennifer, Attorney for Defendant

70.   Davis Wright Tremaine LLP, Attorneys for Plaintiffs-Appellees

71.   Davis, Britton, Attorney for Plaintiffs-Appellees

72.   Day, Stephen, Defendant

73.   DeKalb County Board of Registrations and Elections, Defendant

74.   DeKalb County Law Department, Attorneys for Defendant

75.   Delta Sigma Theta Sorority, Inc., Plaintiff-Appellee

76.   Denmark, Emilie, Attorney for Defendant

77.   Dentons US LLP, Attorney for Intervenors-Appellants

78.   Deshazior, Zurich, Defendant

79.   DeThomas, Courtney, Attorney for Plaintiffs-Appellees

80.   Dianis, Judith, Attorney for Plaintiffs-Appellees

81.   Dickey, Gilbert, Attorney for Intervenors-Appellants

82.   Dicks, Terence, Defendant

83.   Dimmick, Brian, Attorney for Plaintiffs-Appellees



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84.   DiStefano, Don, Defendant

85.   Doss, Travis, Defendant

86.   Dozier, Shauna, Defendant

87.   Drennon, Baxter, Attorney for Intervenors-Appellants

88.   Duffie, Wanda, Defendant

89.   Durbin, Jauan, Plaintiff-Appellee

90.   Durso, Katherine, Defendant

91.   Edwards, Gregory, Defendant

92.   Elias Law Group LLP, Attorneys for Plaintiffs-Appellees

93.   Ellington, Thomas, Defendant

94.   Enjeti-Sydow, Anjali, Plaintiff-Appellee

95.   Evans, James, Attorney for Defendant

96.   Evans, Rachel, Attorney for Plaintiffs-Appellees

97.   Evans-Daniel, Karen, Defendant

98.   Eveler, Janine, Defendant

99.   Exousia Lighthouse International C.M., Inc, Plaintiff

100. Faith In Action Network, Plaintiff

101. Falk, Donald, Attorney for Defendants-Appellants

102. Fambrough, Willa, Defendant



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103. Faransso, Tania, Attorney for Plaintiffs-Appellees

104. Farrell, Gregory, Attorney for Plaintiffs-Appellees

105. Feldsherov, Ilya, Attorney for Plaintiffs-Appellees

106. Fenwick & West, LLP, Attorneys for Plaintiffs-Appellees

107. Field, Brian, Attorney for Defendants-Appellants

108. First Congregational Church, United Church of Christ Incorporated, Plaintiff-

      Appellee

109. Fogelson, Matthew, Attorney for Plaintiffs-Appellees

110. Forsyth County Board of Voter Registrations and Elections, Defendant

111. Fortier, Lucas, Attorney for Plaintiffs-Appellees

112. Foster, Mikayla, Attorney for Plaintiffs-Appellees

113. Freeman Mathis & Gary, LLP, Attorneys for Defendant

114. Fulton County Attorney’s Office, Attorneys for Defendant

115. Fulton County Registration and Elections Board, Defendant

116. Galeo Latino Community Development Fund, Inc., Plaintiff-Appellee

117. Gammage, Keith, Defendant

118. Garabadu, Rahul, Attorney for Plaintiffs-Appellees

119. Gartland, Pat, Defendant

120. Gartland, Pat, Defendant



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121. Gay, Nancy, Defendant

122. Geiger, Debra, Defendant

123. Georgia Adapt, Plaintiff-Appellee

124. Georgia Advocacy Office, Plaintiff-Appellee

125. Georgia Coalition for the People’s Agenda, Inc., Plaintiff-Appellee

126. Georgia Department of Law, Attorneys for Defendants-Appellants

127. Georgia Latino Alliance for Human Rights, Inc., Plaintiff-Appellee

128. Georgia Muslim Voter Project, Plaintiff-Appellee

129. Georgia Republican Party, Inc., Intervenor-Appellant

130. Georgia State Conference of the NAACP, Plaintiff-Appellee

131. Georgia State Election Board, Defendant

132. Ghazal, Sara, Defendant

133. Gibbs, Fannie, Plaintiff-Appellee

134. Gillon, Thomas, Defendant

135. Givens, Diane, Defendant

136. Gossett, David, Attorney for Plaintiffs-Appellees

137. Greater Works Ministries Network, Inc., Plaintiff

138. Green, Tyler, Attorney for Intervenors-Appellants

139. Greenbaum, Jon, Attorney for Plaintiffs-Appellees



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140. Greenberg Traurig, LLP, Attorneys for Defendant

141. Groves, Angela, Attorney for Plaintiffs-Appellees

142. Gwinnett County Board of Registrations and Elections, Defendant

143. Gwinnett County Department of Law, Attorneys for Defendant

144. Hall Booth Smith, P.C., Attorney for Intervenors-Appellants

145. Hall County Board of Elections and Registration, Defendant

146. Hall County Government, Attorneys for Defendant

147. Hall, Dorothy, Defendant

148. Hall, John, Attorney for Intervenors-Appellants

149. Hamilton, Brittni, Attorney for Plaintiffs-Appellees

150. Hancock, Jack, Attorney for Defendant

151. Hart, Ralph, Attorney for Defendant

152. Hart, Twyla, Defendant

153. Hasselberg, Emily, Attorney for Plaintiffs-Appellees

154. Hayes, Vilia, Attorney for Plaintiffs-Appellees

155. Haynie, Litchfield & White, PC, Attorneys for Defendant

156. Hazard, Joel, Defendant

157. Heard, Bradley, Attorney for Plaintiffs-Appellees

158. Heimes, Marianne, Defendant



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159. Henseler, James, Attorney for Plaintiffs-Appellees

160. Herren, Thomas, Attorney for Plaintiffs-Appellees

161. Hiatt, Alexandra, Attorney for Plaintiffs-Appellees

162. Ho, Dale, Attorney for Plaintiffs-Appellees

163. Hodge, Malinda, Defendant

164. Houk, Julie, Attorney for Plaintiffs-Appellees

165. Hoyos, Luis, Attorney for Plaintiffs-Appellees

166. Hughes Hubbard & Reed, Attorneys for Plaintiffs-Appellees

167. Hughes, Aileen, Attorney for Plaintiffs-Appellees

168. Hull Barrett, PC, Attorneys for Defendant

169. Ingram, Randy, Defendant

170. Jacoutot, Bryan, Attorney for Defendants-Appellants

171. Jaffe, Erik, Attorney for Defendants-Appellants

172. Jahangiri, Mahroh, Attorney for Plaintiffs-Appellees

173. Jaikumar, Arjun, Attorney for Plaintiffs-Appellees

174. James-Bates-Brannan-Groover-LLP, Attorneys for Defendant

175. Jarrard & Davis, LLP, Attorneys for Defendant

176. Jasrasaria, Jyoti, Attorney for Plaintiffs-Appellees

177. Jaugstetter, Patrick, Attorney for Defendant



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178. Jedreski, Matthew, Attorney for Plaintiffs-Appellees

179. Jester, Alfred, Defendant

180. Jester, Nancy, Defendant

181. Jhaveri, Sejal, Attorney for Plaintiffs-Appellees

182. Johnson, Aaron, Defendant

183. Johnson, Ben, Defendant

184. Johnson, Darlene, Defendant

185. Johnson, Melinda, Attorney for Plaintiffs-Appellees

186. Johnston, Janice, Defendant

187. Joiner, Amelia, Attorney for Defendant

188. Kanu, Nkechi, Attorney for Plaintiffs-Appellees

189. Kaplan, Mike, Defendant

190. Kastorf Law, LLC, Attorneys for Plaintiffs-Appellees

191. Kastorf, Kurt, Attorney for Plaintiffs-Appellees

192. Kaufman, Alex, Attorney for Intervenors-Appellants

193. Keker Van Nest & Peters LLP, Attorneys for Plaintiffs-Appellees

194. Keker Van Nest & Peters LLP, Attorneys for Plaintiffs-Appellees

195. Kemp, Brian, Defendant-Appellant

196. Kennedy, David, Defendant



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197. Kennedy, Kate, Attorney for Plaintiffs-Appellees

198. Keogh, William, Attorney for Defendant

199. Khan, Sabrina, Attorney for Plaintiffs-Appellees

200. Khan, Sabrina, Attorney for Plaintiffs-Appellees

201. Kim, Danielle, Attorney for Plaintiffs-Appellees

202. Kingsolver, Justin, Attorney for Plaintiffs-Appellees

203. Klein, Spencer, Attorney for Plaintiffs-Appellees

204. Knapp, Halsey, Attorney for Plaintiffs-Appellees

205. Koorji, Alaizah, Attorney for Plaintiffs-Appellees

206. Krevolin & Horst, LLC, Attorneys for Plaintiffs-Appellees

207. Kucharz, Kevin, Attorney for Defendant

208. Lakin, Sophia, Attorney for Plaintiffs-Appellees

209. Lam, Leo, Attorney for Plaintiffs-Appellees

210. Lang, Antan, Defendant

211. LaRoss, Diane, Attorney for Defendants-Appellants

212. Latino Community Fund of Georgia, Plaintiff-Appellee

213. Lauridsen, Adam, Attorney for Plaintiffs-Appellees

214. Law Office of Gerald R Weber, LLC, Attorneys for Plaintiffs-Appellees




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215. Lawyers’ Committee for Civil Rights Under Law, Attorneys for Plaintiffs-

      Appellees

216. League of Women Voters of Georgia, Inc., Plaintiff-Appellee

217. Leung, Kimberly, Attorney for Plaintiffs-Appellees

218. Lewis, Anthony, Defendant

219. Lewis, Joyce, Attorney for Plaintiffs-Appellees

220. Lin, Stephanie, Attorney for Plaintiffs-Appellees

221. Lindsey, Edward, Defendant

222. Lower Muskogee Creek Tribe, Plaintiff-Appellee

223. Lowman, David, Attorney for Defendant

224. Ludwig, Jordan, Attorney for Plaintiffs-Appellees

225. Luth, Barbara, Defendant

226. Ma, Eileen, Attorney for Plaintiffs-Appellees

227. Mack, Rachel, Attorney for Defendant

228. Mahoney, Thomas, Defendant

229. Manifold, Zach, Defendant

230. Martin, Grace, Attorney for Defendant

231. Mashburn, Matthew, Defendant-Appellant

232. May, Caitlin, Attorney for Plaintiffs-Appellees



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233. McAdams, Issac, Defendant

234. McCandless, Spencer, Attorney for Plaintiffs-Appellees

235. McCarthy, Thomas, Attorney for Intervenors-Appellants

236. McClain, Roy, Defendant

237. McCord, Catherine, Attorney for Plaintiffs-Appellees

238. McFalls, Tim, Defendant

239. McFarland, Ernest, Attorney for Plaintiffs-Appellees

240. McGowan, Charlene, Attorney for Defendants-Appellants

241. Mcrae, Colin, Defendant

242. Melcher, Molly, Attorney for Plaintiffs-Appellees

243. Metropolitan Atlanta Baptist Ministers Union, Inc., Plaintiff-Appellee

244. Mijente, Inc., Plaintiff

245. Miller, Nicholas, Attorney for Defendants-Appellants

246. Milord, Sandy, Attorney for Defendant

247. Minnis, Terry, Attorney for Plaintiffs-Appellees

248. Mizner, Susan, Attorney for Plaintiffs-Appellees

249. Mocine-McQueen, Marcos, Attorney for Plaintiffs-Appellees

250. Momo, Shelley, Attorney for Defendant

251. Morrison, Tina, Attorney for Plaintiffs-Appellees



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252. Mosbacher, Jennifer, Defendant

253. Motter, Susan, Defendant

254. Murchie, Laura, Attorney for Plaintiffs-Appellees

255. Murray, Karen, Defendant

256. NAACP Legal Defense and Education Fund, Inc., Attorneys for Plaintiffs-

      Appellees

257. National Association for the Advancement of Colored People, Inc., Parent

      Corporation of Georgia State Conference of the NAACP

258. National Republican Congressional Committee, Intervenor-Appellant

259. National Republican Senatorial Committee, Intervenor-Appellant

260. Natt, Joel, Defendant

261. Nemeth, Miriam, Attorney for Plaintiffs-Appellees

262. Nercessian, Armen, Attorney for Plaintiffs-Appellees

263. New Birth Missionary Baptist Church, Inc., Plaintiff

264. Newland, James, Defendant

265. Nguyen, Candice, Attorney for Plaintiffs-Appellees

266. Nguyen, Phi, Attorney for Plaintiffs-Appellees

267. Nkwonta, Uzoma, Attorney for Plaintiffs-Appellees

268. Noa, Jack, Defendant



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269. Noland Law Firm, LLC, Attorneys for Defendant

270. Noland, William, Attorney for Defendant

271. Norris, Cameron, Attorney for Intervenors-Appellants

272. Norse, William, Defendant

273. Nwachukwu, Jennifer, Attorney for Plaintiffs-Appellees

274. O’Brien, James, Defendant

275. O’Connor, Eileen, Attorney for Plaintiffs-Appellees

276. O’Lenick, Alice, Defendant

277. Olm, Rylee, Attorney for Plaintiffs-Appellees

278. Oxford, Neil, Attorney for Plaintiffs-Appellees

279. Paik, Steven, Plaintiff-Appellee

280. Pant, Shontee, Attorney for Plaintiffs-Appellees

281. Paradise, Loree, Attorney for Defendants-Appellants

282. Parker, Warrington, Attorney for Plaintiffs-Appellees

283. Pelletier, Susan, Attorney for Plaintiffs-Appellees

284. Porter, Megan, Attorney for Plaintiffs-Appellees

285. Powell, Laura, Attorney for Plaintiffs-Appellees

286. Prince, Joshua, Attorney for Defendants-Appellants

287. Pulgram, Laurence, Attorney for Plaintiffs-Appellees



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288. Pullar, Patricia, Defendant

289. Qadir, Hunaid, Defendant

290. Radzikinas, Carla, Defendant

291. Raffensperger, Brad, Defendant-Appellant

292. Raffle, Rocky, Defendant

293. Ramahi, Zainab, Attorney for Plaintiffs-Appellees

294. Rich, James, Attorney for Plaintiffs-Appellees

295. Richardson, Jasmyn, Attorney for Plaintiffs-Appellees

296. Richmond County Board of Elections, Defendant

297. Ringer, Cheryl, Attorney for Defendant

298. Rise, Inc., Plaintiff-Appellee

299. Rodriguez, Anthony, Defendant

300. Rosborough, Davin, Attorney for Plaintiffs-Appellees

301. Rosenberg, Ezra, Attorney for Plaintiffs-Appellees

302. Rosenberg, Steven, Attorney for Defendant

303. Russ, John, Attorney for Plaintiffs-Appellees

304. Ruth, Kathleen, Defendant

305. Ryan, Elizabeth, Attorney for Plaintiffs-Appellees

306. Sabzevari, Arash, Attorney for Defendant



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307. Sachdeva, Niharika, Attorney for Plaintiffs-Appellees

308. Samuel Dewitt Proctor Conference, Inc., Plaintiff

309. Sankofa United Church of Christ Limited, Plaintiff

310. Schaerr | Jaffe LLP, Attorneys for Defendants-Appellants

311. Schaerr, Gene, Attorney for Defendants-Appellants

312. Scott, William, Attorney for Defendant

313. Seals, Veronica, Defendant

314. Segarra, Esperanza, Attorney for Plaintiffs-Appellees

315. Sells, Bryan, Attorney for Plaintiffs-Appellees

316. Shah, Niyati, Attorney for Plaintiffs-Appellees

317. Sheats, Gala, Defendant

318. Shelly, Jacob, Attorney for Plaintiffs-Appellees

319. Shirley, Adam, Defendant

320. Sieff, Adam, Attorney for Plaintiffs-Appellees

321. Silas, Tori, Defendant

322. Sixth District of the African Methodist Episcopal Church, Plaintiff-Appellee

323. Smith, Casey, Attorney for Plaintiffs-Appellees

324. Smith, Dele, Defendant

325. Smith, Mandi, Defendant



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326. Solh, Chahira, Attorney for Plaintiffs-Appellees

327. Solomon, Elbert, Plaintiff-Appellee

328. Sosebee, Charlotte, Defendant

329. Southern Poverty Law Center, Attorneys for Plaintiffs-Appellees

330. Sowell, Gregory, Attorney for Defendant

331. Sparks, Adam, Attorney for Plaintiffs-Appellees

332. Squiers, Cristina, Attorney for Defendants-Appellants

333. Stewart Melvin & Frost, LLP, Attorneys for Defendant

334. Sumner, Stuart, Attorney for Intervenors-Appellants

335. Sung, Connie, Attorney for Plaintiffs-Appellees

336. Sung, Connie, Attorney for Plaintiffs-Appellees

337. Swift, Karli, Defendant

338. Szilagyi, Heather, Attorney for Plaintiffs-Appellees

339. Tatum, Tobias, Attorney for Defendants-Appellants

340. Taylor English Duma LLP, Attorneys for Defendants-Appellants

341. Taylor, Wandy, Defendant

342. Thatte, Anuja, Attorney for Plaintiffs-Appellees

343. The ACLU Foundation Disability Rights Program, Attorneys for Plaintiffs-

      Appellees



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344. The Arc of the United States, Plaintiff-Appellee

345. The Concerned Black Clergy of Metropolitan Atlanta, Inc., Plaintiff-Appellee

346. The Georgia State Election Board, Defendant

347. The Justice Initiative, Inc., Plaintiff-Appellee

348. The Law Office of Bryan L. Sells, LLC, Attorneys for Plaintiffs-Appellees

349. The New Georgia Project, Plaintiff-Appellee

350. The Republican National Committee, Intervenor-Appellant

351. The State of Georgia, Defendant-Appellant

352. The United States of America, Plaintiff-Appellee

353. The Urban League of Greater Atlanta, Inc., Plaintiff-Appellee

354. Thomas, Ethan, Attorney for Plaintiffs-Appellees

355. Thompson, Grace, Attorney for Plaintiffs-Appellees

356. Till, Ann, Defendant

357. Topaz, Jonathan, Attorney for Plaintiffs-Appellees

358. Trent, Edward, Attorney for Defendants-Appellants

359. Tucker, William, Attorney for Plaintiffs-Appellees

360. Tyson, Bryan, Attorney for Defendants-Appellants

361. Uddullah, Angelina, Plaintiff-Appellee

362. Unger, Jess, Attorney for Plaintiffs-Appellees



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363. United States Department of Justice, Attorneys for Plaintiffs-Appellees

364. Van Stephens, Michael, Attorney for Defendant

365. Vander Els, Irene, Attorney for Defendant

366. Varghese, George, Attorney for Plaintiffs-Appellees

367. Varner, Johnny, Defendant

368. Vasquez, Jorge, Attorney for Plaintiffs-Appellees

369. Vaughan, Elizabeth, Attorney for Defendants-Appellants

370. Waite, Tristen, Attorney for Defendant

371. Wang, Emily, Attorney for Plaintiffs-Appellees

372. Wardenski, Joseph, Attorney for Plaintiffs-Appellees

373. Ward-Packard, Samuel, Attorney for Plaintiffs-Appellees

374. Weber, Gerald, Attorney for Plaintiffs-Appellees

375. Weigel, Daniel, Attorney for Defendants-Appellants

376. Wesley, Carol, Defendant

377. White, Daniel, Attorney for Defendant

378. White, William, Attorney for Intervenors-Appellants

379. Wiggins, Larry, Defendant

380. Wilberforce, Nana, Attorney for Plaintiffs-Appellees

381. Wilborn, Eric, Attorney for Defendant



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382. Williams, Gilda, Attorney for Plaintiffs-Appellees

383. Williams, Tuwanda, Attorney for Defendant

384. Wilmer Cutler Pickering Hale and Dorr LLP, Attorneys for Plaintiffs-

      Appellees

385. Wilson, Jacob, Attorney for Defendant

386. Wilson, Melanie, Attorney for Defendant

387. Wingate, Mark, Defendant

388. Winichakul, Pichaya, Attorney for Plaintiffs-Appellees

389. Women Watch Afrika, Plaintiff-Appellee

390. Woodfin, Conor, Attorney for Intervenors-Appellants

391. Woolard, Cathy, Defendant

392. Wurtz, Lori, Defendant

393. Yoon, Meredyth, Attorney for Plaintiffs-Appellees

394. Young, Sean, Attorney for Plaintiffs-Appellees

395. Zatz, Clifford, Attorney for Plaintiffs-Appellees

      Members of the above-named Plaintiff-Appellee groups and residents of the

State of Georgia also have an interest in the outcome of this appeal.

      Except Plaintiff-Appellee Georgia State Conference of the National

Association for the Advancement of Colored People (whose parent corporation is



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National Association for the Advancement of Colored People, Inc.), none of the

above parties has a parent corporation, and no corporation owns 10% or more of any

party’s stock. No publicly traded company or corporation has an interest in the

outcome of this case or appeal.

      Per Eleventh Circuit Rule 26.1-2(c), Appellees certify that the certificate of

interested persons contained in this motion is complete.

Dated: October 13, 2023               Respectfully Submitted,


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(202) 662-8600                        Coalition for the People’s Agenda, Inc.,
                                      League of Women Voters of Georgia, Inc.,
                                      GALEO Latino Community Development
                                      Fund, Inc., Common Cause, and the Lower
                                      Muskogee Creek Tribe




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(678) 981-5295                    and Southern Christian Leadership
                                  Conference




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                         CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day filed the foregoing,

CERTIFICATE         OF    INTERESTED        PERSONS       AND       CORPORATE

DISCLOSURE STATEMENT, and has served a copy of same upon all counsel of

record through the Court’s CM/ECF system.

      This 13th day of October, 2023.

                                            /s/ Laurence F. Pulgrum
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                                            Women Voters of Georgia, Inc. and
                                            Lower Muskogee Creek Tribe



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